Case
Case3:17-cv-00939-WHA
     3:17-cv-00939-WHA Document
                       Document589-36 Filed04/28/17
                                310-8 Filed 06/12/17 Page
                                                     Page11of
                                                           of33




               EXHIBIT 22
                                                                                      Case
                                                                                      Case3:17-cv-00939-WHA
                                                                                           3:17-cv-00939-WHA Document      589-36
                                                                                                               Erbium & Ytterbium
                                                                                                             Document       310-8      Filed
                                                                                                                                  DopedFiled   06/12/17 Page
                                                                                                                                        Fibers 04/28/17 Page22of
                                                                                                                                                              of33




                                                                                             Ěřbįųm & Ỳțțěřbįųm Čǿ-Đǿpěđ Fįběřș

                                                                                                                   Ǿųř Ěřbįųm & Ỳțțěřbįųm Čǿ-Đǿpěđ Fįběřș čǿmbįňěș țħě mįxțųřě ǿf Ěřbįųm ǻňđ Ỳțțěřbįųm įň ǻ
                                                                                                                   șįňģŀě fįběř țǿ ħěŀp ěxțěňđ ǻbșǿřpțįǿň bǻňđș fǿř đǿpěđ fįběřș.

                                                                                                                     Ěxțřěměŀỳ Ħįģħ Pųmp Ǻbșǿřpțįǿň fǿř Șħǿřț Ŀěňģțħ Ǻmpŀįfįěřș

                                                                                                                     Ǻŀŀ-Șįŀįčǻ Đěșįģň Ěňģįňěěřěđ fǿř Ěňvįřǿňměňțǻŀ Șțǻbįŀįțỳ

                                                                                                                     Ěǻșỳ țǿ Șțřįp, Čŀěǻvě, ǻňđ Șpŀįčě




                                                                                                            Ǿřđěřįňģ İňfǿřmǻțįǿň

                                                                                                                                                             Mǿđě
                                                                                                                                                             Fįěŀđ
                                                                                                                       Đřǻẅįňģș, İňđěx        Fįběř        Đįǻměțěř,       Čǿřě
                               Čǿmpǻřě          Mǿđěŀ                                                                 ČǺĐ & Șpěčș Přǿfįŀě     Țỳpě         Ňǿmįňǻŀ       Đįǻměțěř     Ǻvǻįŀǻbįŀįțỳ   Přįčě


                                                                                                                                              Ěřbįųm-        5.6 - 6.4
                                                F-ČP1500Ỳ (/p/F-ČP1500Ỳ)
                                                Ěř-Ỳb Čǿ-đǿpěđ Ǿpțįčǻŀ Fįběř, Đųǻŀ Čŀǻđđįňģ
                                                                                                                                           Ỳțțěřbįųm      @1550 ňm                     İň Șțǿčķ    $161.00
                                  (/p/F-                                                                                                     Čǿ-đǿpěđ           µm
                                 ČP1500Ỳ)


                                                                                                                                              Ěřbįųm-        5.3 - 6.8
                                                F-ĐF1500Ỳ (/p/F-ĐF1500Ỳ)
                                                Čǿ-đǿpěđ Ǿpțįčǻŀ Fįběř, Ěřbįųm-Ỳțțěřbįųm
                                                                                                                                           Ỳțțěřbįųm      @1550 ňm                     İň Șțǿčķ    $51.00
                                  (/p/F-                                                                                                     Čǿ-đǿpěđ           µm
                                 ĐF1500Ỳ)


                                                F-MM105 (/p/F-MM105)                                                                                                      100 - 104
                                                Mųŀțį-mǿđě Pųmp Fįběř, 105μm Čǿřě, 0.24-0.28 ŇǺ
                                                                                                                                   Șțěp    Mųŀțįmǿđě
                                                                                                                                                                             µm          2 Ẅěěķș     $10.00
                                  (/p/F-
                                  MM105)


                                                                                                                                             Fįběř ŀǻșěř     6.5 - 8.2
                                                F-ȘMM900 (/p/F-ȘMM900)
                                                Đųǻŀ-Čŀǻđ Čǿmpǿňěňț Ǿpțįčǻŀ Fįběř, mǻțčħįňģ F-ČP1500Ỳ
                                                                                                                                             pųmp         @1550 ňm                     İň Șțǿčķ    $27.00
                                  (/p/F-                                                                                                      đěŀįvěřỳ         µm
                                 ȘMM900)




                                                                                                                       Fěǻțųřěș

                                                            Đųǻŀ-Čŀǻđ Ěřbįųm & Ỳțțěřbįųm Čǿ-Đǿpěđ Fįběř                             Ǻŀŀ-Șįŀįčǻ Đěșįģň

                                                            Ųňŀįķě ǿțħěř čŀǻđđįňģ pųmp ǿř đųǻŀ-čŀǻđ fįběřș, Fįběřčǿřě’ș             Țħě ǻŀŀ-șįŀįčǻ đěșįģň měǻňș țħě fįběř čǻň bě șțřįppěđ,
                                                            Đųǻŀ-Čŀǻđ Ěřbįųm/Ỳțțěřbįųm Đǿpěđ Fįběř (F-ČP1500Ỳ) ẅǻș                  čŀěǻvěđ ǻňđ șpŀįčěđ ųșįňģ șțǻňđǻřđ țěŀěčǿmș įňđųșțřỳ
                                                            ǿřįģįňǻŀŀỳ đěșįģňěđ ǻș ǻ ħįģħ-pǿẅěř čǿmmųňįčǻțįǿňș                      ěqųįpměňț, ẅįțħǿųț țħě ňěěđ țǿ řěčǿǻț țħě fįběř. Țħě ǻŀŀ-
                                                            ǻmpŀįfįěř fįběř. Țħě pųmp ŀįģħț įș ģųįđěđ ẅįțħįň ǻň ǻŀŀ-șįŀįčǻ          șįŀįčǻ đěșįģň ǻŀșǿ ģįvěș ǿųțșțǻňđįňģ pǿẅěř ħǻňđŀįňģ ǻčřǿșș
                                                            șțřųčțųřě, ųșįňģ ǻ fŀųǿřįňǻțěđ șěčǿňđǻřỳ čŀǻđđįňģ țǿ čřěǻțě             fųŀŀ țěmpěřǻțųřě ǻňđ ħųmįđįțỳ řǻňģěș, ẅįțħǿųț țħě řěŀįǻbįŀįțỳ
                                                            țħě pųmp ģųįđě bǿųňđǻřỳ, ẅįțħǿųț țħě ňěěđ fǿř ŀǿẅ įňđěx                 přǿbŀěmș ǿbșěřvěđ įň ŀǿẅ įňđěx pǿŀỳměř čŀǻđđįňģ đěșįģňș.
                                                            pǿŀỳměřș.




                                                            Șįňģŀě Mǿđě Ěřbįųm & Ỳțțěřbįųm Čǿ-Đǿpěđ                                 Mįxțųřě ǿf Ěřbįųm & Ỳțțěřbįųm
                                                            Fįběř
                                                                                                                                    Țħě mįxțųřě ǿf Ěřbįųm ǻňđ Ỳțțěřbįųm ěxțěňđș țħě 915ňm
                                                            Fįběřčǿřě’ș ȘM Ěřbįųm/Ỳțțěřbįųm Đǿpěđ Fįběř (F-ĐF1500Ỳ)                 pųmp ǻbșǿřpțįǿň bǻňđ țǿ 980ňm ẅįțħ ǻ řěŀǻțįvěŀỳ fŀǻț
                                                            įș ǻ Șįňģŀě-Mǿđě (ȘM) Ěřbįųm (Ěř) ǻňđ Ỳțțěřbįųm (Ỳb)                    ǻbșǿřpțįǿň řǻțě ųňțįŀ țħě 980ňm pěǻķ. Țħįș ǻŀŀǿẅș ŀǿẅ čǿșț,
                                                            đǿpěđ fįběř, přǿvįđįňģ ěxțřěměŀỳ ħįģħ ŀěvěŀș ǿf pųmp                    ňǿň-șțǻbįŀįżěđ 940ňm pųmpș țǿ bě ųșěđ ẅħěřě vǻřįǻțįǿňș įň
                                                            ǻbșǿřpțįǿň ǻňđ ěmįșșįǿň ǻřǿųňđ țħě țěŀěčǿmș Č ǻňđ Ŀ bǻňđ                țħě pųmp ẅǻvěŀěňģțħ ẅįțħ țěmpěřǻțųřě ẅįŀŀ ħǻvě ǻ mųčħ
                                                            ẅįňđǿẅș. Țħě fįběř čǻň bě ųșěđ fǿř ŀǿẅěř pǿẅěř fįběř ŀǻșěřș,            șmǻŀŀěř ěffěčț ǿň țħě ǿųțpųț pǿẅěř țħǻň pųmpįňģ ǻț 980ňm.
                                                            přě-ǻmpŀįfįěřș ǻňđ Ǻmpŀįfįěđ Șpǿňțǻňěǿųș Ěmįșșįǿň (ǺȘĚ)
                                                            ŀįģħț șǿųřčěș. Țħě ħįģħ ǻbșǿřpțįǿň įș įđěǻŀ fǿř ǻppŀįčǻțįǿňș
                                                            řěqųįřįňģ șħǿřț ģǻįň ŀěňģțħș, fǿř ěxǻmpŀě fěmțǿșěčǿňđ
                                                            mǿđě-ŀǿčķěđ řįňģ ŀǻșěřș.




                                                            Ǻppŀįčǻțįǿňș                                                            Vǿŀųmě Đįșčǿųňț

                                                                  Țěŀěčǿmș
                                                                  ĚĐFǺș ǻňđ ỲĚĐFǺș


https://www.newport.com/f/erbium­&­ytterbium­doped­fibers                                                                                                                                                      1/2
                                                                              Case
                                                                              Case3:17-cv-00939-WHA
                                                                                   3:17-cv-00939-WHA Document      589-36
                                                                                                       Erbium & Ytterbium
                                                                                                     Document       310-8      Filed
                                                                                                                          DopedFiled   06/12/17 Page
                                                                                                                                Fibers 04/28/17 Page33of
                                                                                                                                                      of33

                                                            Čǻbŀě Țěŀěvįșįǿň (ČǺȚV)                                     Țħě fǿŀŀǿẅįňģ vǿŀųmě đįșčǿųňț șčħěđųŀě įș ǻųțǿmǻțįčǻŀŀỳ
                                                            Fįběř Ŀǻșěřș                                                ǻppŀįěđ ẅħěň ǿřđěřįňģ čǿňțįňųǿųș ŀěňģțħș ǿf bǻřě ǿpțįčǻŀ
                                                            Ŀįģħț Řǻđǻř (ĿİĐǺŘ)                                         fįběř >10m:                                                
                                                                                                                              11 - 50 m - 15 %
                                                                                                                              51- 100 m - 22 %
                                                                                                                              101- 500 m - 25 %
                                                                                                                              > 501 m - 28 %.

                                                                                                                        Đįșčǿųňț ǻppŀįčǻbŀě țǿ čǿňțįňųǿųș ŀěňģțħ ǿf fįběř ǿňŀỳ




                                                                                                     Řěŀǻțěđ Přǿđųčțș




                                    (/f/ỳțțěřbįųm-đǿpěđ-            (/p/F-ĐĦB1500)           (/f/ěřbįųm-đǿpěđ-            (/p/F-ĐF1000)
                                            fįběřș)                                                fįběřș)
                                                                     Pǿŀǻřįżǻțįǿň                                     Ňěǿđỳmįųm Đǿpěđ
                                     Ỳțțěřbįųm Đǿpěđ             Mǻįňțǻįňįňģ Ǿpțįčǻŀ          Ěřbįųm Đǿpěđ            Ǿpțįčǻŀ Fįběř, Fįběř
                                          Fįběřș                    Fįběř, Ěřbįųm           Fįběřș (/f/ěřbįųm-          Ŀǻșěřș (/p/F-
                                      (/f/ỳțțěřbįųm-              Đǿpěđ, PM ĚĐFǺș             đǿpěđ-fįběřș)                ĐF1000)
                                      đǿpěđ-fįběřș)               (/p/F-ĐĦB1500)



                                Șųppǿřț: (877)835-9620 (țěŀ:(877)835-9620)  Ħǿųřș: Mǿňđǻỳ - Fřįđǻỳ, 5ǻm - 5pm PȘȚ  Čǿňțǻčț Ųș (/čǿňțǻčț-ųș)




https://www.newport.com/f/erbium­&­ytterbium­doped­fibers                                                                                                                              2/2
